







NUMBER 13-01-092-CR through 13-01-094-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


__________________________________________________________________


DANNY GARCIA III,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 105th District Court 


of Kleberg County, Texas.


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O P I N I O N



Before Chief Justice Valdez and Justices Hinojosa and Yanez


Opinion Per Curiam



	Appellant, DANNY GARCIA III, perfected appeals from judgments
entered by the 105th District Court of Kleberg County, Texas,  in cause
numbers 00-CRF-549, 00-CRF-550, and 00-CRF-551.  Appellant has filed
motions to dismiss the appeals.  The motions comply with Tex. R. App. P.
42.2(a).

	The Court, having considered the documents on file and appellant's
motions to dismiss the appeals, is of the opinion that appellant's motions to
dismiss the appeals should be granted.  Appellant's motions to dismiss the
appeals are granted, and the appeals are hereby DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 22nd day of March, 2001.


